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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

    SUZANNE E. JONES,

                     Plaintiff,

           v.                                                Civil Action No.: 4:21-cv-733-ALM

    H. NEIL MATKIN, in his personal and
    official capacity; TONI JENKINS, in her
    personal and official capacity; and COLLIN
    COLLEGE,

                     Defendants.


                           ORDER GRANTING STIPULATION OF DISMISSAL

                Before the Court is the Parties’ Stipulation of Dismissal (Dkt. #42). The parties have

      stipulated that the above-captioned action and all claims and affirmative defenses asserted

      between the parties should be dismissed with prejudice and with each party bearing their own

      costs and attorney’s fees except as provided for in the parties’ agreement.

                Accordingly, IT IS HEREBY ORDERED:

         1.         The parties’ Stipulation of Dismissal is GRANTED.

         2.         The above-captioned action is dismissed, with prejudice and with each party

. bearing their own costs and attorneys fees.

         All relief not previously granted is hereby denied.

         The Clerk is directed to close this civil action.

         IT IS SO ORDERED.
          SIGNED this 28th day of November, 2022.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
